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                    Exhibit 1
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                    Exhibit A
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                                                                                                                                                                                               ~stAgc
                                       Pro g ram. Name.     Faithbased   Statc.Requc.s   TOP.Date . GcstAgc.         Program.Name.            Faithbased.                      TO P.Perf orm ed .Pcrfonn                                                                                                Notes - SIR, options
A. Numb«   ILast .Name   IFfrst.Namc   Reaue .sted          .R eaues tcd tcd             Rcauested       R caues ted Pe rformed               Per fo rmed   State.Performed    .Date            cd       ORR.Funded    T OP .Year Notes                                                                 couns. 1 l i\olE/MC

(b)(6)
                                                                                                                                                                                               :lpp ro x                                                                                                Case Revie,,,
                                                                                                                                                                                                                                                                                                                   v D oc not
                                       $\'(fK Canuti llo   0             T exas          2014-0 1-02     12 weeks       S\'i/ K Canu tillo    0             Ne-\,, Mexico      2014- 02 -04    16 weeks no t d ear     20 14                                                                            upload e d to RFP Fo ld er
                                                                                                                                                                                                                                                                                                        Pla nned. Parentho od ;
                                                                                                                                                                                                                                                                                                        SIR s/U A C Case Review
                                                                                                                                                                                                                                                                                                        not up lo :tded tu RFP
                                       S\VK Gs a Blan( a 0               T exl.l.s       2014-04 -24     18 w('Ck$      SWK Cas a Bkmca 0                   Texas              2014- 0S-09     19 weeks no             20 14      iudicial bvo ass; ao oro vcd b" OR R                                  folder

                                       CathoLic Charities                                                                                                                                      approx                                                                                                   SI Rs rlO t uploaded to
                                       Borstown           1              Florid-a        2014- 09-17     7 weeks        Lorralne ·n1omas 0                  Florida            2014-10-14      t l weeks no t clea r   20 14      UC rePorted vh     \l a \                                             RFP folde r
                                       SWK 1.-t:mon                                                                  SWK Lemo n                                                                approx
                                       Grov e             0              C:1lifo m i!l   201 5-04 -28    10.5 we eks Gro ve                   0             Ca liforni :1      201 5-05- 12    14 wee ks yes           20 15
                                                                                                         app rox 9                                                                             approx
                                       SWK Casa Blanc a 0                T exas          2015 -06-01     wee ks         SWK Casa Blanc a 0                  T e:-:as           2015-06-26      15 weeks        ·es     20 15      UC t>te<"1ruic 1· SIR 5/Z7; iudicial bl'Oass

                                       Bokenc am p         0             T exas          2015-06- 11
                                                                                                         app rox 8
                                                                                                         wee ks         l lca rd:md c:JIA P 0               Jllinois           2015-07-0 8
                                                                                                                                                                                               approx
                                                                                                                                                                                               tO wee ks yes           20 15
                                                                                                                                                                                                                                  Kb)(6)
                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                               approx
                                                                                                         app rox 9                                                                             10.S                               de cision da te is not en tirely d ear (so urce U/\C SI R l) ;        Pla nned Partnth ood. in
                                       Car u.v:aCente rs   0             N ew York       2015-08-31 wee ks              Caru~ .1Cent er s     0             N ew Yo rk         201 5-CJ<J
                                                                                                                                                                                       .l1     weeks           no      20 15      O RR ap prc-"'al o n 9/8/01 5                                         NY
                                                                                                                                                                                               approx
                                       Chi Jdren's V ilfage                                              app rox 18     Ch ddre-11's Village                                                   20.5
                                       She lter             0            N ew York       2015-09-22 wee ks              Sheller              0              Ne\\ • Yo rk       2015 - 10- 14   weeks           no      20 15


                                       C hildr en's ViJJage                                              :i.pp ro>.. 17 Chikiren 's Village                                                    app rox .
                                       Shelt e r            0            N ew Yori::     2015-0 9-29     wee ks         Sheller             0               New Yo rk          2015 - 10-09    18 weeks no             20 15      09/04/20    15 - 7 wee ks prce naM
                                       $\'(fK Lemon
                                       Grtwe               0             C:difo mi~t     201 5- 11-04    no t d e-:tr   no t d e-:tr          0             not clea r         201 5- 11-07    not clear       no      20 15

                                       Lea ke and \X1:ms   0             N ew Yock       2015- 11-09     no t d ear     Lea ke and     w~ms   0             New Yo rk          2015- 11-23     ll O { clet   r no      20 15
                                                                                                         app rox 12                                                                            app rox
                                       Cavui:mCente rs     0             N e\v York      201 5- 11-12    wee ks         Ca ·u~.1Cent er s     0             N ew Yo rk         201 5- 11-24    14 w eeks. ·es          20 15      Plann ed Pne mho od.
                                                                                                                                                                                                                                   b)(6)
                                       Chi Jdren's Village                                               app rox 14     Chddre-11's Village                                                    15.4
                                       She lter            0             N ew York       2015 - 11-18    wee ks         Sheller             0               Ne\\ • Yo rk       2015 - 12-03    weeks           ·es     20 15
                                                                                                         app rox 6.5 Kids Pe:ice/ Kids                                                         afte.r 10 .5                       T O P \Vas p refo rme.d in J an uary ... SIR sta tes infectio n
                                       IGS Los Fre snos    0             T exas          201 5- 12-07    wee.ks      Have n                   0             Pe nn s,,Jv:inia   2016- 01 -21    week s       yes        20 16      lposr proce d ure:


                                        SWKCas a                                                                     SWK Casa                                                                  6- 11
                                       IQ uetzaJ           0             T exas          2016-0S-27      8-2 week s IO ue czal                0             T e xas            2016-06-30      \\.·eeks        r es    20 16      1-lo usto n \'\?omen 's Cent er, L.\ IP 5/1 5
                                                                                                         no te/ ear,
                                       Morrison                                                          est. at leas t Mo rriso n
                                       D o,1mto1,1.
                                                •n         0             Or eoo n        2016- 07- 12    10 we e ks     D o wm ow n           0             Or e i:.
                                                                                                                                                                  ,on          2016 -07-26     not dea r       ·es     20 16      Love iov Sun dce n te r
                                                                                                                                                                                               ll-10
                                       SWK fatre.113       0             Arb:orui.       2016-08•07      4-0 week s     SWK Est rella         0             Arizo na           2016-08 -16     week s          ·c,     20 16      Plann ed Parentho od in T em pe Ari,m na
                                                                                                                                                                                               appr o x
                                                                                                                        Kid s.P eace/Kids.                                                     11- 12                           l(b)(6)
                                       Home stead          0             1~1o rida       2016- 11-02     no t d ea r    H aven                0             Pe nn s,,Jvan ia   2016- 12-02     weeks           No      20 16                                                                            \/o me n's Ho s.n ic-.1.
                                                                                                                                                                                                                                                                                                                              I
                                       SWKC."'                                                           :i.pp rox 2                                                                           :ipp rox 8-
                                       IO uctzaJ           0             T e>.as         2016- 1 1- 14   to 6 wee ks l·lco,tlond CH1\ P 0                   Illinois           2016- 11-28     12 weeks        \'CS    20 16      LJ\rP,Sc ote mbc:£20 16
                                                                                                         app rox 2-4 Crittent o n                                                              :tppro x 4-
                                       C rittemon Sheller 0              Califo mi~,     2016 - 11-22    wee ks      Shelter                  0             Califo rnia        2016- 12-05     6 week s No             20 16      LM P. 10/2 3/ 16                                                      Pl:tnn ed Parentho od


                                                                                                         app rox 5.5 SWKCase                                                                   approx
                                       SWK Es r.re lla     0             Arfao na        2016 - 11-22    \vee ks     Es t.relfa               0             Arfao na           2016- 12-06          •ee ks ·es
                                                                                                                                                                                               7.5 1,1.                20 16      L~IP. 10/ 11/20 16
                                                                                                         app rox 7      SWK Ha cienda                                                          app rox
                                       SWK Sol             0             Arb:orui.       2016- 11~28     wee ks         del So l              0             Arizo na           2016- 12• 14    1 I wee ks      ·c,     20 16      Plann ed Parenthood , Li\lP t 1/0 5/ 20 16
                                                                                                         app rox 6                                                                             approx 9
                                       Hom estead          0             Flo rid-a       2016- 12-07     -.,;
                                                                                                           ·eeks        H ea rthu\ d SCl Y    0             Illi11ois          2016- 12-20     weeks           ·es     20 16      I.MP, 10/28/20 16                                                     Pl~u1ned Parent hood
                                                                                                                        i\lorri so n                                                                                              o pt ions co un seling p rovid ed ; UC req uested a first
                                       Mor riso n          0             Or egon         2016- 12-21     6 wee ks       D o wntown            0             O rc:_go
                                                                                                                                                                   n           2017- 01 -05    9 \Veeks        No      20 17      trime st.c:r rerm inario n
                                        Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 7 of 9

(b)(6)                                                             approx 8- Leake & Wms                                                 approx S-
         Homestead                0   New York      2016- 12-28    10 ,veitk:!; TIT                     0   New Yo rk     2016- 12-30    to weeks. No   20 16    L~IP, 10/I0/2016                                               Planned. Parenthood.

         SWK Kokonclli                Arizon.1      2017-01-1)4
                                                                   :i.pprox 12
                                                                   weeks             SWK Kokooclli 0        Arizona       2017-03--02
                                                                                                                                         approx
                                                                                                                                         16 weeks No    2017
                                                                                                                                                                Ib)(6)                                                          i'-"1m
                                                                                                                                                                                                                                     clb.ick Family
                                                                                                                                                                                                                                Pl.innin~

         BC:FSSan                                               approx 3                                                                                         TO P req uest resc inded on 02/03/20 17 howeve r mus,
         Amon io                      Texas         2017-02--01 wee ks               na                     n,            na             n,        na            lu.vc requested TOP ~in and rc!icindc:d on .1/13/20 17
                                                                   approx 7
         Hean.land                    1mnois        2017-02-01     \veeks            no                     n,            na             n,        na            TO P Req\lest rescin d ed on 02/02/20 17
         St PJs Chil dre:ns                                        approx 8                                                              approx 9
         Home                         Tex as        2017-02-17     wee ks            SWK C.asa Blanca       Tcu ...       2017-0.l-02    weeks    No    2017     Chemica l Term inat io n
                                                                   approx 9
         SWK LasPalmns                Arizona       2017-03-20 -.,;
                                                                 ·eeks    n,                                              n,                                     Child remlifted on 4/8/20 17
                                                                approx 16
                                                                                                            "'                           "'        "'
         SWK Kokopdli                 A rizona      2017- 06-15 wee ks    na                                n,            na             n,        na            TO P Rcquc.~tn=scindcd on 06/ 19/2017
                                                                   approx8                                                                                       TO P Req\lest rescinded on 07/07/20 17 after d1sclosu,e
         SWKSol                       Arbr.ona      2017-07-05     weeks                                                  no                       na            with FOC and famJlv
                                                                                     "'                     '"                           '"
                                                                                                                                                                 Un clear if TO P Re9ucsr; , \d viscd by p rogrnm chat n or a
                                                                   approx 8                                                                                      TO P request h owever underwem counse ling; chi ld
         S\'(I}( l..'lS Palm:is       Ar i;i:ona    2017-08- 10    weeks             n,                                   n,                       oa            rcun.i6c:d
                                                                   approx 9
                                                                                                            "'                           "'
         IES Los Fresnos              T exas        2017-09-19     weeks             IES Los Fresnos        Texas         2017-10-25     15 weeks No    2017     Consensual
                                                               app rox 9                                                                                         TO P Request rescinded on 9/28/2017 afrcr family
         S\X1K Glcncble               Arizona       2017-09-25 weeks                 n,                                   na                       na            sess ion.
                                                                                                            '"                           '"
                                                                   approx 2
         IES Los Fresnos              T exas        2017-10-23     weeks             na                     n,                           n,        n,            t\1-:ertdeterm ination- 11-6--2017 dischanre d
                                                                 app rox 7
                                                                                                                          "'                                     Program did nor norifyO RR of TOP Re9ucsr nor did
         Abbot { House                New Yori::    2017- 11--09 weeks               Abbon House            New York      2017- 11--09   8 weeks   No   2017     the 1,ro,e.r:imobr:i.in O RR Dir ector approva l               ~Ir. Sin.1i Hosp ital
                                                                                                                                                                 Notifica tion to ORR I IQ on 12/2; Ch ild refuses OB
         f\fonison                                                 approx 9                                                                                      app t; US ok if mon iror i~ turn ed a\\-.t}';Age
         Downtmvn                     Oreron        2017- 11-27    week~             n,                     n,            na             n,        na            Redeterm ination ( I9yrs); DC to ICE on 12/ 20/ 20 17
                                                                                                                                                                 b)(6)


                                                                   app rox 20
         Abbott House                 New Yori::    2017- 1 1-29   weeks             Abbou House            New Yo rk     2017-12-20     22 weeks No    2017
                                                                   approx 4                                                              approx 4                Chi.Id evaluate d hr OB and ,administered mifeprist0ne
         YouthCare                    Washin(oton   2017- 12-05    weeks             YouthC ~lre            Wash in~ton   2017-12-05     weeks    No    2017     (chem ical term ination) on 12/ 5;                             f-larborview
                                                                   approx 16
         Criuemon Shelter             Califom.i.i   2017- 12-29    weeks             n,                                                            na            Childr-cm\itiedon   1/ 14/201S
                                                                                                            '"            "'             '"
                                                                   approx 10
         SWKCampbell                  Arizona       2018-0 1-0'J   weeks             na                     n,            na             n,        n,
                                                                                                                                                                 b)(6)
                                                                                                                                                                                                                       I
                                                                                                                                                                 Pregnancy resuk oi con.sensual relations; DHL' C noticed
                                                                approx 9                                                                                         rec1ti~l in SIR on l /'2.IJ/20 18; 2/ I informed by program
         IES Nomu        Linda        T exas        2018-0 1-22 \\'eeks              no                                   na                       na            r.har.chtld re.sdnded rec11Jest
                                                                                                            '"                           '"
                                                                                                                                                                 Request resc inded on 2/7/2018; options discussed with
         SWKNuev.i                                                 Approx 6                                                                                      Probar :irtorney on 1/ 24/2018; unclear when re9 ucst was
         Espc r:mw                    Tex.is        2018-01-24     weeks             n,                                   na                       n,            made .
                                                                                                            '"                           '"
                                                                   approx 4-S                                                                                    Pre,btt1anq result of consensual relations to 15 yo male in
         SWK Anti~ua                  T exas        2018-03-07     weeks      na                            na                           na        n,            COO _; reunified 3/ I 7
                                                                                                                          "'                                     Ut\C aged out on 3/1 4/'2/J IS; 2 days afrcr her request •
         SWK Dsa Blanca               T exas        2018-03-12     Unlmown           n,                     '"            na
                                                                                                                                         '"        na            un known GA
                                                                                                                                                                 b)(6)                  l ninor ex pressed chat she w-ants 10
         SWKAntii;:ua                 T exas        2018-04--03 ~8.9 weeks na                               n,            na             n,                      have her b:1br
                                                                                                                                                   '"
         SWK Rio Grande               T exas        2018-04-04 - 4.5     \\'C(:k.S   n:i                                  n,                       oa            Consensual Activit •; m.inor reunified 4-7•2018
                                                                                                            '"                           '"                      l\lino r requested infonna tion on 5/4 / 2018; rescinded
                                                                   Appmx 18                                                                                      requ o;t on 5/10 :i.frcr initi:i.l OB appt; con..,ensual;
         SWK Franklin                 Texa~         2018-05..07    wee ks            n,                     n,            na             n,        na            reun ified 5/26
                                                                                                                                                                 Consensual re lations; M inor requested additional
         SWK N uev-a                                               Ap prox 21                                                                                    information on 2nd term abortion; decided to rescin d
         Esperanza                    T ex.as       2018- 05-07    wee ks     na                            n,                           n,        n,            request and proc eed v..ith adoption
                                                                                                                          "'                                     Consensual f"el.\rionswith 15 yo boyfr iend; UAC
         SWK EscreUa                  Arizona       2018-05-22     4 weeks           N t\                                 na                       na            reun ific:d
                                                                                                            '"                           '"
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(b )(6)                                                                                                                                                  Neg prc:gduring !!\IE, c/ o abcl pain Prcg +, cons ens ual
                                                             Ap prox 14 $WK                                              approx                          rclarions, sought TO P via atto rn ey, Judici:111Brpas s
          SWK i\lom c:zuma       T exas       2018-06-06     wee ks     i\ lontczuma          Texas        2018-06-29    18 weeks No            20 18    1,rr-.,mcd6/ 1.5, 2 d:1,, oroccdure 6/28, 6/29


                                                                                                                                                         (b)/6)                                                      ~ c9
                                                                                                                                                         J U P but ,vantmg to seek serv ices aftcc rcumt 1caooo;
          Youth for                                          Approx 9                                                                                    6/18 seen lo ED foe ADD ~in and dx with possible:
          Tomorrow               V iroinia    2018-06-21     wccks        n,                               n,                       na                   rniscarria'-'c; reunified on 7/ 14/2018-:i.t - 12 ..vccks IUP.
                                                                                              '"                         '"                              Mino r was determined to be non•prcgn:lm, possib le
                                                                                                                                                         spon taneous abortion-excess tis.sueon US; h\[E
           S\XFKC1s:il                                                                                                                                   p«:gnancr test+; 6·28 initial 013 i\ PPT: OB Prcgm,ncy
          IOuctz:ill             Texas        2018-06-27     Unknown      n,                               no                       n•                   rest nee, HCG nee.
                                                                                              '"                         '"
                                                                                                                                                         Notified o f an artorncy arr:inging for modical appt.
          SWK Nucva                                                       SWK Nucrn                                      Approx 9                        C..om:cnsual relations with 19   ro male; unclear \vhen the
          E.spcran7..a           T e>::as     2018-07-01     7 wee ks     E$pc.rnnza          Texas        2018-07-20    \Veeks                 20 18    reque$t was made . .. earlr Ju lv 20 18 likclr.
                                                                                                                                                        (b)(6)                             ln inor was informed 28 weeks
                                                                                                                                                         g-csutional age beyond GA fo r abort ive procedure;
                                                             Ap prox 28                                                                                  i\l ino r s1a1e:d she \vill try to take care o f the baby hui i f
          SWK Estre lla          A rizona     2018-07-1 1    wee ks     na                    na           na            na         na                   no t s.he w ill ask her Aunt

                                                                                                                                                          b)(6)
          C::itholic Charities                               Approx 12                                                   Approx
          Bovstown               Flo rid:i    2018 07- 12
                                                   4
                                                             wee ks       Risinl!' Ground     New York     2018-07-27    l4 weeks Nn            20 18


                                                                                                                                                         C..onsensual relations a lthough unclear of circumstances.;
          He:1r1J:md                                                      1-le:anland                                    Approx                          AC LU invo lved.; ob tained. jud icial hr pass 8/ B; rccei\fed
          Gua da lupe.           Illino is    2018 07 25
                                                   4   4
                                                             7 wee ks     Gu.1dalupc          Illinois     2018-08-23    t I weeks No           20 18    TA R 8/ 17; no documenta tion in porta l
                                                                          Somhwes t Ke)'S                                Apptox
          SWKAnt.iJ:?;ua         T exas       2018-07-31     6-7 weeks    AntiJ:?;ua          Te xas       2018-09-07    12 weeks No            20 18    Coosensl1al relations with 18    \ 'O   e:<•l:>1wfrieodh, COO
                                                                                                                                                        (b)(6)
          SWKCm                                              4 weeks 6
          FrankliJ.1             T cx,,s      2018-08-01     da, ·s       NA                               na                       oa
                                                                                              '"                         '"                              C'.onsen.s;ualrd:itions w ith boyfrien d in COO; :ifte r the
                                                                                                                                                         child talked with he r mother and was told it will he OK,
          S\VK Anti~ua           T exas       201&-08-02     10 -1 \w eek s NA                na           no            na         na                   child resci nde d her TO P request
          David and                                          10 weeks 2 na vid a11d                                      Appro:.,c                        h\/R\                      kequesrs no parental
          Mar:.-aret             California   2018-08·03     da,'S      l\ lan.-.,uet         Califoroja   2018-08- 16   12 weeks Pend.in£!     20 18    11ouficalioc1; SMR submitted 8/7 seek.in-. federal fonds.

                                                                                                                                                         Kb)(6)
                                                             Ap prox 8                                                   t\pprox
          He:1.nl:1,n
                   d CHAP        I Uino i.s   2018-08--04 weeks           l·lcartlond CHA P   Illinois     2018-08-28    12 weeks No            2018
                                                                                                                         :lpprox                        /b\/ 6)                        17 wee ks gesta tion by &ltes on
          $\'(fK Anti,;:ua       T exas       2018-08-07     7 weeks      SWKAmiqua           Texas        201&-09-07    t t weeks Pen di nl{   20 18    8/7

                                                                                                                                                        (b )(6)



          Homcs t~d              Flo rida     2018-09- 17    16 weeks     NA                  n,           n,            n,         n•
                                                                          SWK Casa EJ                                    Approx
          Homestead              1~1o rid:a   2018-09-17     9 weeks      P res ide me        Texas        2018- 10-06   t i weeks. No          20 18    Consensua l relations with 20 ·o male in COO_;
          BCFS San                                                                                                                                        Consensual f"el;nio ns w ith 19 yo male in COO; Twin
          Amon io                T ex.is      2018- 10-01    ~8 weeks     o,                               na                       na                   lecst.irion; ae:00 ou t on 10/ 18/20 18
                                                                                              '"                         '"
          IJC!•S San                                                      IJCf,SSan                                      Approx
          Amon io                T exas       2018- 10-03    ~8 9wce ks Antonio
                                                                4
                                                                                              Texas        2018- 10-20   12 weeks No            2018     Consensual relations with 17 ro male in COO


                                                                                                                         Appro:.,c                       (b)/6)          lnitiaUr thought to be 11 -.,;
                                                                                                                                                                                                     'ee ks gestation
          Cavu~     Centers      New Yori..   2018- 10- 19   ~ l l weeks Ca '\ lg-a Cemers    New York     2018- 11.07   18 weeks No            20 18    but US near time of oroce dure mdie:ned 18 \veeks.
          SWK El                                                                                                                                         l\l ino r rescinded request afte r jud icial bypass was
          P resi dcn1e           T exas       2018- 11-11    ~8 weeks     n,                  na           na            NA         NA                   obtained . Di schai1rcd to S-J>o nso r
                                                                                                                         Approx
          I lieVillai:teS        ~11sas       2018- 11· 13   4-G weeks    The Vilfal..>eS     Kansas       2019-0 1-04   13 weeks Yes           20 19    (b)(6)                                                     I
          Homes tead             Flo rid!!.   2018-1 1-15    ~ 8 9 weeks na
                                                                4
                                                                                              na           n,            na         na
                                                                                                                                                          b)(6)
                                                                                                                                                                                                                          I
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b)(6)   SWK Nuev-a                                                        SWK Nutv3                                            Approx                     Consensual with 18 yo male in COO; voluntal)'
        Esoer:mza            T ex.as         2018-11-20 9-10 weeks Esoernnza                     Texas           2018-12-14    14w eeks. No      2018    deoa nu re
                                                           18-19                                                               t\pprox                    (b)(6)
        SWKAncima            Tex.is          2018-11-20    weeks          SWKBl,nc,              Texas           2018-12--06   19 weeks No       2018
                                                                                                                                                         Limb bod)' \\..-illcomplex cong.::nitalanomal)•-fatal
                                                                                                                                                         cond ition; discharged 12/2 1 to sponsor to pursue
                                                                                                                                                         termination; MFM discussed tcrrnination vs ca.rcyiog,o
        BCFS DciscoU         Tcus            2018-12-17    ~20 \\'ec:ks   n,                                     n,                        oa             term; minor ontcd for termination
        Heartland Jml                                                     He--.1
                                                                              rcla:ndlm l
                                                                                                 '"                            '"                         Notified on 1-4-2019; consensual re lations in COO;
        Ch ildrens RC        I llinois       2018-12-19 ~ 12u-eeks        Childrens RC           Illinois        2019-0 1-08   16 weeks No       2019     Initial olacemenr at Homestead->Heartbnd
        S\XFKC1s:il                                                       SIVK                                                 - 14
        .Montczum:i          Texas           2018-12-26 ~9 weeks          ~rontczum:1            Texas           2019-02--06   weeks       No    2019     Consensual
                                                                                                                                                          b)(6)

        KidsPe.icc           Pcnnsy(\~,nia   2019-01--02 4-5 weeks n,                                            no                        na
        $\'(fK Nue,ra
                                                                                                 '"                            '"
                                                                          SWK Nueva                                            -13
        Esoer:inza           T exas          2019-0 1-11   8-9 weeks      Esoenuiza              Texas           2019-02-08    weeks       No    2019     Consensual activin•
                                                                                                                               - 11-12                    b)(6)
        CC Houston           Tex,.s          2019-01- 15   -7wccks        Leake and \'(fans      New York        2019-02-19    weeks       No    2019
        SWKEI                                                                                                                                             Consensual Activitr; Minor requested sponsor
        Presidente           Texas           2019-0 1-29   ~ 16u-eeks na                         n,              na            n,          na             notification; mino r rt'unified.with sponsor
        CHS I Casa                                       -8- 10           CHSI Casa                                            - 14                      minor denied SJ\ or assault, procedure done on 3-1; had
        NorrnaL i.nda        Tex,.s          2019-02--01 weeks            Norma Linda            Texas           2019-03--01   weeks       No    2019    evaluation and need second oroocdurc I i,.veekh{er



        SWK San Diego        C:1lifo mi!l    2019-03-05 ~3-4 weeks SWK San D iego                Ca liforni:1    2019-03-25    -6 u-ccks No      2019     Consensual :activirv with 20 \-O male in COO
        SWKG.sa                                                                                                                                           Conseosl1alactivity; rescinded re<1uest ~3/15/2019 and
        Houston              Texas           2019-03-07    ~ IS weeks oa                                         o,                        na             infonned auornev of descision
                                                                                                 '"                            '"
                                                                                                                                                         Ass:rnlted;during [ME child stated not wanung bah)';
                                                                                                                                                         durmg OB e\'aluat..ionchild requested TO P; confusion
                                                                     Crinemon                                                                            on circumstances in.itiallrbeLievedto be consensual bm
        BCFS Driscoll        Texas           2019-03- 14 ~S-6 u•eeks Shelter                     California      2019-04-04    ~9 weeks Yes      2019    later <letem1inedto be due to assaldt.
                                                                                                                               -10
        SWK Anti~ua          Texa~           2019-03-18 5-6 weeks         SWK Antiqua            Tcxa.s;         2019-04-12    weeks    Nn       2019

                                                                                                                               -17                       Consensual activity; later rescinded and Stated no sexual
        KidsPe-ace           Pennsrl vania 2019-03-27 ~ 12we-eks Kidsoe-ace                      Penns vlvania   2019-04-26    weeks       No    2019    activitr and not bein~ ore~ant :u li\'IE.;t-lCG Positive
                                                                                                                               -6-8
        Heanl:i.ndCHAP       Illinois        2019-03-28 - S-6wccks l·lco,tlond CHAP              Illinois        2019-04--10   weeks       No    2019     Consensual Acdvin•; no documenrarioo of US
        SWK Nueva                                        - 19-20                                                               -22
        Esperanza            T exas          2019-04--03 weeks     SWK Casa Bhmca                Texas           2019-04--18   ,,,.·eeks   No    2019     Consensual Accivitr; 2-part proced ure

        Bethan)' Christian                                                                                                     ~15
        Services             Tennessee       2019-04-03 ~6 -7 u•eeks K.idsPeace                  Pennsvlvan.ia   20 19-06-01   weeks       No    2019     (b)(6)                      I

        i\'1crcvf irst       New York        2019-04-17    ~4 weeks       Merer First            New York        2019-04-27    ~6 wC'C'ksNn      2019     cc:mscns1.nl activ1t·
                                                                                                                               - 18
        Homes lead           Florida         2019-04-20 ~4 Weeks Kids Peace                      Peonsvlvania    2019-05-24    weeks       No    2019    consens ual actfrirr

        Kidsocace            Penns,·lvania 2019-04-22      ~ 4 weeks Pendini!                    Pend inl!       Pendini!      Pend inl!                  Consensual :activirr
                                                                                                                                                         on 5-2-2019, minor infonneJ staff of wam los1op the
        SWKQuef'".i;al       Texas           2019-04-23 7 ,veeks          oa                                     o,                        na            lermjoation process and pro~d willl pregnanq•
                                                                                                 '"                            '"
                                                                                                                               -15
        SWK Las Palm:a..s;   Arizona         2019-0S--06 ~ 14 u-ccks      S\X1K   L-is P:almas   Arizona         2019-05-17    weeks
                                                                                                                               -17
                                                                                                                                           Yes   2019    [ bl/6)                              I
        SWKKokopelli         Arizona         2019-05-21    14 weeks       SWKKokopelli           Arfaona         2019-06-15    weeks
                                                                                                                               - ·16
                                                                                                                                           Yes   2019   l(b)(6)
                                                                                                                                                                                              I
        SWK Kokopelli        Arizona         2019 05~22 ~ l]wC'C'ks SWK Kokopc Ui
                                                 4                                               Arizona         2019-06-14    weeks       Nn    2019     C'.onsen.s;ual
                                                                                                                                                                      Activitr

        BCl'S Driscoll       Texas           2019-06-13    Pendiog        Pendiog                Pe11di1\g       Pendi11g      Pe11di1\g                 l(b)(6)
                                                                                                                                                                                          I
        SWK C...om
                 bes         TeX:as          2019-06-14 ~ 14 u·C'C'ksPending                     Pend ing        Pending       Pend ing                   Consensual Accivitr
